          Case 1:18-cv-01606-JKB Document 16 Filed 08/02/18 Page 1 of 4




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                                        Civil Division




IN THE MATTER OF THE                                Civil Action No.: 1:18-CV-011606-JKB
COMPLAINT OF STEPHEN WILLIS
AS OWNER OF A
1987 CHRIS CRAFT CATALINA 381
(HULL I.D. CCNEJ381K687)
FOR EXONERATION FROM OR
LIMIATION OF LIABILITY
Petitioners




       CLAIMS OF RESPONDENT'S GEICO MARINE INSURANCE COMPANY

        COMES NOW, GEICO MARINE IINSURANCE COMPANY, a Maryland Corporation,

to the use of and as subrogee of the following: MARY BUCKWALTER, AND MARK

STEVENSON, by and through their attorneys, Christopher D. Buck, Esquire and the law firm of

HYATT & WEBER, P.A., and pursuant to Federal Rules and Civil Procedure Supplemental

Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions, specifically Rule F(5) and

states as follows:


                                 BUCKWALTER VESSEL

    1. GEICO Marine Insurance Company (hereinafter "GEICO") insured the below referenced

       vessel owned by Terry Buckwalter (Deceased) and his surviving spouse Mary

       Buckwalter (see Exhibit A attached and incorporated hereto the insureds Declaration

       Page and Abstract of Title evidencing Ownership as Tenants by Entirety).

   2. GEICO through its authorized claims agent "BOAT US," received a report of the marina

       fire on December 11,2017, which source was the Petitioners vessel and which damaged
Case 1:18-cv-01606-JKB Document 16 Filed 08/02/18 Page 2 of 4
Case 1:18-cv-01606-JKB Document 16 Filed 08/02/18 Page 3 of 4
Case 1:18-cv-01606-JKB Document 16 Filed 08/02/18 Page 4 of 4
